             Case 5:22-cv-00544-D Document 1 Filed 01/11/22 Page 1 of 11




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------------X
 EDMOND GRIGORYAN,
                                                                           Civil action No.: 1:22-CV-165
                                           Plaintiff,
                                                                           COMPLAINT and
                                                                           DEMAND FOR JURY
                      -against-
                                                                           TRIAL
 AARON MATHEW JONES and KSA DELIVERY LLP,

                                             Defendants.
 ----------------------------------------------------------------------X

        Plaintiff, EDMOND GRIGORYAN, by and through his attorneys, LAW OFFICE OF

YURIY PRAKHIN, P.C., as and for his Complaint against Defendants, AARON MATHEW JONES

and KSA DELIVERY LLP, upon information and belief, hereby alleges as follows:

                                                        PARTIES

        1.       Plaintiff, EDMOND GRIGORYAN, was at all times material hereto, and still is, a

resident of Richmond County, New York, and is otherwise sui juris.

        2.       Defendant, AARON MATHEW JONES, was and is, upon information and belief, a

resident of Oklahoma County, in the City of Oklahoma City, and State of Oklahoma.

        3.       Defendant, KSA DELIVERY LLP, at all times material hereto, is a domestic limited

liability partnership registered in the State of Oklahoma with its principal place of business located

in Oklahoma County, at 18636 Cantar Drive, Edmond, OK 73012.

                                         JURISDICTION AND VENUE

        4.       This court has subject matter jurisdiction pursuant to 28 USC § 1332 Diversity of

Citizenship and a claim in amount exceeding $75,000.00.

        5.       Venue for this claim is proper pursuant 28 U.S.C. § 1391.



                                                        1
             Case 5:22-cv-00544-D Document 1 Filed 01/11/22 Page 2 of 11




                             FACTS COMMON TO ALL COUNTS

       6.      On June 22, 2021, and at all times material hereto, Plaintiff, EDMOND

GRIGORYAN, owned a 2019 RAM Promaster 3050 bearing license plate number 062221T and

VIN Number 3C7WRVFG5KE503988.

       7.      On June 22, 2021, and at all times material hereto, Defendant, AARON MATHEW

JONES, operated a 2013 Freight truck bearing license plate number 19C527 and VIN Number

1FVACWDUXDHFE9517.

       8.      On June 22, 2021, and at all times material hereto, Defendant, AARON MATHEW

JONES, owned a 2013 Freight truck bearing license plate number 19C527 and VIN Number

1FVACWDUXDHFE9517.

       9.      On June 22, 2021, and at all times material hereto, Defendant, AARON MATHEW

JONES, leased a 2013 Freight truck bearing license plate number 19C527 and VIN Number

1FVACWDUXDHFE9517.

       10.     On June 22, 2021, and at all times material hereto, Defendant, KSA DELIVERY

LLP, owned a 2013 Freight truck bearing license plate number 19C527 and VIN Number

1FVACWDUXDHFE9517.

       11.     On June 22, 2021, and at all times material hereto, Defendant, KSA DELIVERY

LLP, leased a 2013 Freight truck bearing license plate number 19C527 and VIN Number

1FVACWDUXDHFE9517.

       12.     On June 22, 2021, and at all times material hereto, Defendant, KSA DELIVERY LLP

was the motor carrier for the 2013 Freight truck bearing license plate number 19C527 and VIN

Number 1FVACWDUXDHFE9517.



                                              2
             Case 5:22-cv-00544-D Document 1 Filed 01/11/22 Page 3 of 11




       13.     On June 22, 2021, and at all times material hereto, Defendant, AARON MATHEW

JONES, operated the aforesaid Freight truck with the permission of Defendant, KSA DELIVERY

LLP.

       14.     On June 22, 2021, and at all times material hereto, Defendant, AARON MATHEW

JONES, operated the aforesaid Freight truck with the knowledge of Defendant, KSA DELIVERY

LLP.

       15.     On June 22, 2021, and at all times material hereto, Defendant, AARON MATHEW

JONES, operated the aforesaid Freight truck with the express consent of Defendant, KSA

DELIVERY LLP.

       16.     On June 22, 2021, and at all times material hereto, Defendant, AARON MATHEW

JONES, operated the aforesaid Freight truck with the implied consent of Defendant, KSA

DELIVERY LLP.

       17.     On June 22, 2021, and at all times material hereto, Defendant, AARON MATHEW

JONES, operated the aforesaid Freight truck within the course of his employment as an employee or

independent contractor of Defendant, KSA DELIVERY LLP.

       18.     At all times material hereto, Defendant, AARON MATHEW JONES, managed the

aforesaid Freight truck.

       19.     At all times material hereto, Defendant, AARON MATHEW JONES, maintained the

aforesaid Freight truck.

       20.     At all times material hereto, Defendant, AARON MATHEW JONES, controlled the

aforesaid Freight truck.

       21.      At all times material hereto, Defendant, KSA DELIVERY LLP, managed the

aforesaid Freight truck.

                                               3
             Case 5:22-cv-00544-D Document 1 Filed 01/11/22 Page 4 of 11




       22.     At all times material hereto, Defendant, KSA DELIVERY LLP, maintained the

aforesaid Freight truck.

       23.     At all times material hereto, Defendant, KSA DELIVERY LLP, controlled the

aforesaid Freight truck.

       24.     That on June 22, 2021, Plaintiff, EDMOND GRIGORYAN, was operating his motor

vehicle and traveling northbound on Interstate 35 in Ardmore, Oklahoma.

       25.     That on June 22, 2021, Defendant, AARON MATHEW JONES, was operating the

aforesaid Freight truck, and traveling northbound on Interstate 35 in Ardmore, Oklahoma when the

front of the aforesaid Freight truck rear-ended the motor vehicle owned and operated by Plaintiff,

EDMOND GRIGORYAN.

                              COUNT I
    PLAINTIFF, EDMOND GRIGORYAN’S CLAIM FOR NEGLIGENCE AGAINST
                  DEFENDANT, AARON MATHEW JONES

       26.     Plaintiff, EDMOND GRIGORYAN, re-affirms and re-alleges each of the allegations

contained in paragraphs 1 through 25, as if they were fully and completely set forth herein, and

further would allege as follows:

       27.     At all times material hereto, as the driver of the aforesaid Freight truck, Defendant,

AARON MATHEW JONES, owed Plaintiff, as a member of the motoring public operating a vehicle

on public roads, a legal duty to operate the aforesaid Freight truck with reasonable care.

       28.     That on June 22, 2021, Defendant, AARON MATHEW JONES, operated the

aforesaid Freight truck in a careless and negligent manner so as to cause a collision with the motor

vehicle owned and operated by Plaintiff, EDMOND GRIGORYAN, and was thereby negligent.

       29.     That as a direct and proximate result of the negligence of Defendant, AARON

MATHEW JONES’s negligence, as pled herein, the Plaintiff, EDMOND GRIGORYAN, was

                                                 4
              Case 5:22-cv-00544-D Document 1 Filed 01/11/22 Page 5 of 11




injured in and around his body and extremities and/or aggravated a pre-existing condition; suffered

pain therefrom; suffered physical handicap; suffered disfigurement; suffered mental pain and

suffering; suffered loss of income in the past and will do so in the future; suffered loss for the

capacity for the enjoyment of life; and/or incurred medical expenses for the care and treatment of his

injuries. Said injuries are permanent and are continuing in nature, and the Plaintiff will continue to

suffer these losses and impairments in the future.

        30.     Plaintiff, EDMOND GRIGORYAN’s injuries consist in whole or in part of: (a)

significant and permanent loss of a body organ, member, function, or system, and/or (b) permanent

consequential limitation of use of a body organ or member, and/or (c) significant and permanent

scarring or disfigurement, and/or (d) a medically determined injury or impairment of a non-

permanent nature which prevents Plaintiff from performing substantially all of the material acts

which constitute his usual and customary daily activities for not less than ninety days during the one

hundred eighty days immediately following the occurrence of the injury or impairment.

        WHEREFORE Plaintiff, EDMOND GRIGORYAN, prays for entry of a judgment against

Defendant, AARON MATHEW JONES, in an amount in excess of Seventy Five Thousand

($75,000.00) dollars, plus costs, and Plaintiff further demands trial by jury of all issues in this cause

so triable as a matter of right.

                              COUNT II
    PLAINTIFF, EDMOND GRIGORYAN’S CLAIM FOR VICARIOUS LIABILITY
                 AGAINST DEFENDANT, KSA DELIVERY LLP

        31.     Plaintiff, EDMOND GRIGORYAN, re-affirms and re-alleges each of the allegations

contained in paragraphs 1 through 30, as if they were fully and completely set forth herein, and

further would allege as follows:



                                                   5
             Case 5:22-cv-00544-D Document 1 Filed 01/11/22 Page 6 of 11




       32.     At all times material hereto, as the driver of the aforesaid Freight truck, Defendant,

AARON MATHEW JONES, owed Plaintiff, as a member of the motoring public operating a vehicle

on public roads, a legal duty to operate the aforesaid semi-tractor-trailer truck with reasonable care.

       33.     Upon information and belief, on June 22, 2021, Defendant, AARON MATHEW

JONES, operated the aforesaid Freight truck with the permission of Defendant, KSA DELIVERY

LLP.

       34.      Upon information and belief, on June 22, 2021, Defendant, AARON MATHEW

JONES, operated the aforesaid Freight truck with the knowledge of Defendant, KSA DELIVERY

LLP.

       35.     Upon information and belief, on June 22, 2021, Defendant, AARON MATHEW

JONES, operated the aforesaid Freight truck with the express consent of Defendant, KSA

DELIVERY LLP.

       36.     Upon information and belief, on June 22, 2021, Defendant, AARON MATHEW

JONES, operated the aforesaid Freight truck with the implied consent of Defendant, KSA

DELIVERY LLP.

       37.      Upon information and belief, on June 22, 2021, Defendant, AARON MATHEW

JONES, operated the aforesaid Freight truck within the course of his employment as an employee or

independent contractor of Defendant, KSA DELIVERY LLP.

       38.     At all times material hereto, Defendant, KSA DELIVERY LLP, is therefore

vicariously liable for any negligence of Defendant AARON MATHEW JONES, in the operation of

its vehicle with permission, knowledge, express consent, and/or implied consent.




                                                  6
             Case 5:22-cv-00544-D Document 1 Filed 01/11/22 Page 7 of 11




       39.     At all times material hereto, Defendant, KSA DELIVERY LLP, is therefore

vicariously liable for any negligence of Defendant, AARON MATHEW JONES, in the operation of

its vehicle within the scope of his employment or agency.

       40.     That on June 22, 2021, Defendant, AARON MATHEW JONES, operated the

aforesaid Freight truck in a careless and negligent manner so as to cause a collision with the motor

vehicle owned and operated by Plaintiff, EDMOND GRIGORYAN, and was thereby negligent.

       41.     That as a direct and proximate result of the negligence of Defendant, AARON

MATHEW JONES’s negligence, as pled herein, the Plaintiff, EDMOND GRIGORYAN, was

injured in and around his body and extremities and/or aggravated a pre-existing condition; suffered

pain therefrom; suffered physical handicap; suffered disfigurement; suffered mental pain and

suffering; suffered loss of income in the past and will do so in the future; suffered loss for the

capacity for the enjoyment of life; and/or incurred medical expenses for the care and treatment of her

injuries. Said injuries are permanent and are continuing in nature, and the Plaintiff will continue to

suffer these losses and impairments in the future.

       42.     Plaintiff, EDMOND GRIGORYAN’s injuries consist in whole or in part of: (a)

significant and permanent loss of a body organ, member, function, or system, and/or (b) permanent

consequential limitation of use of a body organ or member, and/or (c) significant and permanent

scarring or disfigurement, and/or (d) a medically determined injury or impairment of a non-

permanent nature which prevents Plaintiff from performing substantially all of the material acts

which constitute his usual and customary daily activities for not less than ninety days during the one

hundred eighty days immediately following the occurrence of the injury or impairment.

       WHEREFORE Plaintiff, EDMOND GRIGORYAN, prays for entry of a judgment against

Defendant, KSA DELIVERY LLP, in an amount in excess of Seventy Five Thousand ($75,000.00)

                                                  7
              Case 5:22-cv-00544-D Document 1 Filed 01/11/22 Page 8 of 11




dollars, plus costs, and Plaintiff further demands trial by jury of all issues in this cause so triable as a

matter of right.

                               COUNT III
      PLAINTIFF, EDMOND GRIGORYAN’S CLAIM FOR NEGLIGENT HIRING,
              TRAINING, AND RETENTION AGAINST DEFENDANT,
                              KSA DELIVERY LLP

        43.     Plaintiff, EDMOND GRIGORYAN, re-affirms and re-alleges each of the allegations

contained in paragraphs 1 through 42, as if they were fully and completely set forth herein, and

further would allege as follows:

        44.     At all times material hereto, as the driver of the aforesaid semi-tractor-trailer truck,

Defendant, AARON MATHEW JONES, owed Plaintiff, as a member of the motoring public

operating a vehicle on public roads, a legal duty to operate the aforesaid semi-tractor-trailer truck

with reasonable care.

        45.     At all times material hereto, upon information and belief, Defendant, AARON

MATHEW JONES, operated the aforesaid Freight truck within the course of his employment as an

employee or independent contractor of Defendant, KSA DELIVERY LLP.

        46.     At all times material hereto, Defendant, KSA DELIVERY LLP, failed to exercise

reasonable care and was thereby negligent in one or more of the following respects:

        a.      Defendant, KSA DELIVERY LLP, failed to exercise reasonable care to verify the

suitability of Defendant, AARON MATHEW JONES, as a driver of the aforesaid Freight truck

before hiring him as an employee or independent contractor;

        b.      Defendant, KSA DELIVERY LLP, failed to exercise reasonable care to verify the

ability of Defendant, AARON MATHEW JONES, to drive the aforesaid semi-tractor-trailer truck

safely before hiring him as an employee or independent contractor;


                                                     8
            Case 5:22-cv-00544-D Document 1 Filed 01/11/22 Page 9 of 11




       c.      Defendant, KSA DELIVERY LLP, failed to exercise reasonable care in investigating

the background and driving records of Defendant, AARON MATHEW JONES, before hiring him as

an employee or independent contractor;

       d.      Defendant, KSA DELIVERY LLP, failed to require Defendant, AARON MATHEW

JONES, to possess a valid CDL license before operating the aforesaid Freight truck;

       e.      Defendant, KSA DELIVERY LLP, failed to exercise reasonable care before

contracting with Defendant, AARON MATHEW JONES, to operate the aforesaid Freight truck.

       f.      Defendant, KSA DELIVERY LLP, before the time of the subject collision, knew or

should in the exercise of reasonable care have known of the lack of suitability of Defendant,

AARON MATHEW JONES, to operate the aforesaid Freight truck, but nevertheless retained

Defendant, AARON MATHEW JONES, as an operator of the aforesaid Freight truck;

       g.      Defendant, KSA DELIVERY LLP, before the time of the subject collision, knew or

should in the exercise of reasonable care have known of the inability of Defendant, AARON

MATHEW JONES, to operate the aforesaid Freight truck safely and consequent lack of suitability to

operate the aforesaid Freight truck, but nevertheless retained Defendant, AARON MATHEW

JONES, as an operator of the aforesaid semi-tractor-trailer truck;

       h.      Defendant, KSA DELIVERY LLP, failed to offer or provide adequate training to

Defendant, AARON MATHEW JONES, either before or after hiring him as an operator of the

aforesaid Freight truck;

       i.      Defendant, KSA DELIVERY LLP, was otherwise negligent in connection with the

hiring, training, or retention of Defendant, AARON MATHEW JONES, as an operator of the

aforesaid Freight truck;



                                                9
             Case 5:22-cv-00544-D Document 1 Filed 01/11/22 Page 10 of 11




       j.       Defendant, KSA DELIVERY LLP, at all material times failed to comply with

Oklahoma statutes, laws, and regulations, as well as Federal Motor Carrier Safety Act (FMCSA)

requirements regulating the operation of Freight truck;

       k.       Defendant, KSA DELIVERY LLP, was otherwise negligent.

       47.      That on June 22, 2021, Defendant, AARON MATHEW JONES, operated the

aforesaid semi-tractor-trailer truck in a careless and negligent manner so as to cause a collision with

the motor vehicle owned and operated by Plaintiff, EDMOND GRIGORYAN, and was thereby

negligent.

       48.      That as a direct and proximate result of the negligence of Defendant, AARON

MATHEW JONES’s negligence, as pled herein, the Plaintiff, EDMOND GRIGORYAN, was

injured in and around his body and extremities and/or aggravated a pre-existing condition; suffered

pain therefrom; suffered physical handicap; suffered disfigurement; suffered mental pain and

suffering; suffered loss of income in the past and will do so in the future; suffered loss for the

capacity for the enjoyment of life; and/or incurred medical expenses for the care and treatment of her

injuries. Said injuries are permanent and are continuing in nature, and the Plaintiff will continue to

suffer these losses and impairments in the future.

       49.      Plaintiff, EDMOND GRIGORYAN’s injuries consist in whole or in part of: (a)

significant and permanent loss of a body organ, member, function, or system, and/or (b) permanent

consequential limitation of use of a body organ or member, and/or (c) significant and permanent

scarring or disfigurement, and/or (d) a medically determined injury or impairment of a non-

permanent nature which prevents Plaintiff from performing substantially all of the material acts

which constitute his usual and customary daily activities for not less than ninety days during the one

hundred eighty days immediately following the occurrence of the injury or impairment.

                                                  10
           Case 5:22-cv-00544-D Document 1 Filed 01/11/22 Page 11 of 11




        WHEREFORE Plaintiff, EDMOND GRIGORYAN, prays for entry of a judgment against

Defendant, KSA DELIVERY LLP, in an amount in excess of Seventy Five Thousand ($75,000.00)

dollars, plus costs, and Plaintiff further demands trial by jury of all issues in this cause so triable as a

matter of right.

                                   DEMAND FOR JURY TRIAL

        Plaintiff demands trial by jury for all issues so triable.



Dated: Brooklyn, New York
       January 11, 2022

                                                 Yours, etc.

                                                 /s/ Anna C. Broxmeyer

                                                 ANNA BROXMEYER, ESQ.
                                                 LAW OFFICE OF YURIY PRAKHIN, P. C.
                                                 Attorneys for Plaintiff
                                                 EDMOND GRIGORIYAN
                                                 1883 86th Street, 2nd Floor
                                                 Brooklyn, New York 11214
                                                 (718) 946-5099
                                                 Our File No. 00199-AB




                                                    11
